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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK

=====================================
AUROHOM D. WIGDER individually and
all other similarly situated consumers


                            Plaintiff,

              -against-


FINANCIAL RECOVERY SERVICES, INC.


                     Defendant.
=======================================

                                 CLASS ACTION COMPLAINT

                                         INTRODUCTION

       1)     Plaintiff Aurohom D. Wigder files this Complaint seeking redress for the

illegal practices of Defendant Financial Recovery Services, Inc. who, inter alia, used

false, deceptive, and misleading practices, and other illegal practices, in connection

with its attempts to collect an alleged debt from the Plaintiff and others.

                                             PARTIES

       2)     At all times relevant to this lawsuit, Plaintiff is a citizen of the State of New

York who resides within this District.

       3)     Plaintiff is a consumer as that term is defined by Section 1692(a)(3) of the

FDCPA.

       4)     The alleged debt that Defendant sought to collect from the Plaintiff


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involves a consumer debt.

      5)     At all times relevant to this lawsuit, Defendant's principal place of

business is located within Edina, Minessota.

      6)     Defendant is regularly engaged upon, for profit, in the collection of

allegedly owed consumer debts.

      7)     Defendant is a “debt collector” as specifically defined by the FDCPA, 15

U.S.C. § 1692(a)(6).

                                  JURISDICTION & VENUE

      8)     Jurisdiction of this Court arises under 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1331.

      9)     Venue is proper in this District because the acts and transactions

occurred here, Plaintiff resides here, and Defendant transacts business here.

                                  FACTUAL ALLEGATIONS

10)   Upon information and belief, on a date better known by Defendant, Defendant

      began to attempt to collect an alleged consumer debt from the Plaintiff.

      11)    On or about February 8, 2013, Defendant sent the Plaintiff a collection

letter seeking to collect a balance allegedly incurred for personal purposes.

      12)    Said letter states in pertinent part as follows: “THE CREDITOR IS

REQUIRED TO REPORT ANY SETTELMENT AMOUNT EQUAL OR GREATER

THAN $600 TO THE IRS.”

Section 1692e of the FDCPA prohibits a debt collector from making false, deceptive,



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and misleading statements in connection with the collection of a debt.

Section 1692e(10) of the FDCPA prohibits a debt collector from using false

   representations or deceptive means to collect a debt alleged due.

      13)    Advising Plaintiff that Financial Recovery Services, Inc.’s client, Cavalry

Portfolio Services, LLC “IS REQUIRED TO REPORT ANY SETTELMENT AMOUNT

EQUAL OR GREATER THAN $600 TO THE IRS.” is deceptive and misleading in

violation of the FDCPA.

Internal Revenue Code 26 U.S.C. § 6050P as further defined and clarified by the

Treasury Regulation 1.6050P-1 (a)(1), states "a discharge of indebtedness is deemed

to have occurred…if and only if there has occurred an identifiable event described in

paragraph (b)(2) of this section." Paragraph (b)(2)(F) of that section defines an

"identifiable event" as "[a] discharge of indebtedness pursuant to an agreement

between an applicable entity and a debtor to discharge indebtedness at less than full

consideration." 26 C.F.R. § 1.6050P-1(b)(2)(F).

However, Treasury Regulation 1.6050P-1, outlines certain exceptions to the § 6050P

   reporting requirement. 26 C.F.R. § 1.6050P-1(d). The most pertinent of these eight

   exceptions for the present case are §§ 1.6050P-1(d)(2) and (3), which reads:

      (2) Interest. The discharge of an amount of indebtedness that is interest is not

      required to be reported under this section.

      (3) Non-principal amounts in lending transactions. In the case of a lending

      transaction, the discharge of an amount other than stated principal is not



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       required to be reported under this section. For this purpose, a lending

       transaction is any transaction in which a lender loans money to, or makes

       advances on behalf of, a borrower (including revolving credits and lines of

       credit).

       14)    It is entirely possible to forgive $600 or more of the debt and yet not be

required to file a 1099c.

Section 1692e of the FDCPA prohibits a debt collector from making false, deceptive,

and misleading statements in connection with the collection of a debt.

       15)    Advising Plaintiff that The Internal Revenue Service requires that they be

notified with information about amounts of $600 or more, the statement “THE

CREDITOR IS REQUIRED TO REPORT ANY SETTELMENT AMOUNT EQUAL OR

GREATER THAN $600 TO THE IRS.” is deceptive and misleading in violation of the

FDCPA.

       16)    The false statements mislead the consumer as to the impact of

attempting to settle the matter for less than what the Defendant claims is owed.

       17)    Said letter violated 15 U.S.C. §§ 1692e, 1692e(5) and 1692e(10) by

threatening to engage in an act which is legally prohibited. The Defendant’s statement

that: “THE CREDITOR IS REQUIRED TO REPORT ANY SETTELMENT AMOUNT

EQUAL OR GREATER THAN $600 TO THE IRS.” as contained within the said letter,

could be read by the least sophisticated consumer, as a threat to engage in an act

legally prohibited.



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Section 6050P of the Internal Revenue Code requires that an "applicable entity" report

any cancellation or discharge of indebtedness in excess of $600.00 if, and only if, there

has occurred an identifiable event described in paragraph (b)(2) of that section.

       18)    Here, there is no basis to conclude that a triggering event has or will

occur requiring the creditor to file a Form 1099C.

       19)    The gratuitous reference in a collection letter that a collector's client will

sent the Plaintiff an IRS Form 1099C for him to include with his income tax, is a

collection ploy which suggests to the least sophisticated consumer that he or she could

get in trouble with the IRS for refusal to pay the debt.

       20)    Said letter violated 15 U.S.C. §§ 1692e, and 1692e(10), by falsely

representing that “THE CREDITOR IS REQUIRED TO REPORT ANY SETTELMENT

AMOUNT EQUAL OR GREATER THAN $600 TO THE IRS.” Such a statement is

objectively false. The law prohibits the Defendant from reporting information about the

consumer on a 1099C form unless certain "identifiable events" occur, none of which

are applicable to the Plaintiff herein.

       21)    Said letter is false and deceptive in that it does not explain that it is only

under certain limited circumstances that a 1099C Form may be reported to the IRS.

       22)    Said letter language is false and deceptive in that it does not explain that

the Defendant’s client is prohibited from sending the Plaintiff an IRS 1099C Form

unless and until both Plaintiff and Defendant have reached an "agreement" on the

amount of the debt and the amount that is being discharged.



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       23)    Said letter is false and deceptive in that it falsely implies to the least

sophisticated consumer that the consumer will have to pay taxes on the difference

between what the Defendant claims is owed and what the consumer agrees to pay.

       24)    Said letter is false and deceptive in that it falsely implies to the least

sophisticated consumer that the consumer will have to pay taxes on any forgiven

amount of $600 or more without disclosing that 1099C are only issued for principal

forgiveness not interest forgiveness.

       25)    Said letter does not indicate how much of the current debt is interest and

how much of it is principal.

       26)    Said letter fails to disclose to consumers that there is a distinction

between principal and interest.

       27)    The false statements mislead the consumer as to the impact of

attempting to settle the matter for less than what the Defendant claims is owed.

       28)    Said letter violated 15 U.S.C. §§ 1692e, 1692e(10) and 1692e(5) by

threatening to engage in an act which is legally prohibited. Defendant’s statement that

its client “THE CREDITOR IS REQUIRED TO REPORT ANY SETTELMENT

AMOUNT EQUAL OR GREATER THAN $600 TO THE IRS.” as contained within the

said letter, could be read by the least sophisticated consumer, as a threat to engage in

an act legally prohibited. The language falsely indicates that unless the consumer paid

the full amount that the Defendant alleges is owed, the Defendant is going to

unilaterally engage in conduct that is prohibited by law.



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       29)    Defendant’s actions as described herein also violated § 1692e(8), in that

the language contained within the said letter is a threat to report information that the

Defendant knows, or should have known to be false. Defendant is not permitted to a

file 1099C tax form relating to a consumer unless certain "identifiable events" occur.

The threat to file such 1099C tax forms without regard for said. "Identifiable events" is a

violation of § 1692e(8). The least sophisticated consumer could read this letter to mean

that the Defendant is going to report to the IRS that the entire difference between what

the Defendant says is owed, and what the Plaintiff pays, is taxable. The Defendant’s

letter fails to disclose to consumers that there is a distinction between principal and

interest.

       30)    The Defendant’s actions as described herein are also unfair and

unconscionable in violation of 15 U.S.C. § 1692f; as well as harassing and abusive in

violation of 15 U.S.C. § 1692d.

       31)    The Defendant’s letter gives consumers objectively false and deceptive

tax advice.

       32)    The Defendant’s letter could mislead the least sophisticated consumer

that unless the consumer pays the entire amount that the Defendant alleges is owed

on the alleged debt, the consumer is going to be reported to the IRS.

       33)    The Defendant’s letter could mislead the least sophisticated consumer

into believing that unless the consumer pays the entire amount Defendant alleges is

owed for the debt, the consumer is going to have to pay taxes on the entire unpaid



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balance.

       34)    The Defendant voluntarily chooses to give the tax advice found in the

Defendant’s letter. No tax law or regulation obligates the Defendant to include the

notice regarding tax form 1099C in their collection letters.

       35)    It is false and deceptive for the Defendant to give erroneous and/or

incomplete tax advice to consumers regarding 1099C tax forms.

       36)    Defendant’s letter fails to disclose to consumers that there is a distinction

between principal and interest.

       37)    Misrepresentation of a debtor’s rights or liabilities under the Internal

Revenue Code in connection with the collection of a debt is an FDCPA violation.

Kuehn v. Cadle Co., 5:04-cv-432-Oc-10GRJ, 2007 U.S. Dist. LEXIS 25764 (M.D.Fla.,

April 6, 2007). (This includes a statement that a 1099 must be issued when a 1099 is

not required.), Wagner v. Client Services, Inc., 08-5546, 2009 U.S. Dist. LEXIS 26604

(E.D.Pa., March 26, 2009). Many classes have been certified. See Sledge v. Sands,

1998 WL 525433(class certified), and see Follansbee v. Discover Fin. Servs., 2000

U.S. Dist. LEXIS 8724 (N.D. Ill. June 14, 2000). (Granting final approval of the

proposed class action settlement and application for attorney fees and incentive award

for confusing debt collection letter about canceled debt tax liability.)

       38)    The letter violated 15 U.S.C. § 1692e, by falsely representing that “THE

CREDITOR IS REQUIRED TO REPORT ANY SETTELMENT AMOUNT EQUAL OR

GREATER THAN $600 TO THE IRS.” Such a statement is objectively false. If $600 or



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more is forgiven it may not be reported to the IRS. Said letter is false and deceptive in

that it does not explain that it is only under certain limited circumstances that a 1099C

Form may be reported to the IRS.

A case precisely on point is Wagner v. Client Servs., 2009 U.S. Dist. LEXIS 26604,

2009 WL 839073 (E.D. Pa. Mar. 26, 2009). Defendant, Client Services, Inc., sent a

letter to Plaintiff regarding a debt allegedly due to Citibank that stated: “If the amount

written-off is equal or greater than $600.00, our client is required by the Internal

Revenue code, section 6050P, to report this amount and issue a form 1099-C.”

Defendant’s motion to dismiss denied because: “By failing to attribute the nature of

the debt that may be discharged to principal and non-principal amounts,

Defendant has not shown that its letter is literally true.” Id. In Easterling v.

Collecto, Inc., 2011 WL 2730924 (W.D.N.Y. July 12, 2011). The Plaintiff had obtained a

federally guaranteed student loan in 1987. Although she successfully completed a

chapter 7 bankruptcy in 2001, her outstanding student loan debt was not among the

debts discharged. The debt remained outstanding in 2008 when Collecto, a collector

hired by the Department of Education, sent the plaintiff a form letter stating

"****ACCOUNT INELIGIBLE FOR BANKRUPTCY DISCHARGE**** your account is

NOT eligible for bankruptcy discharge and must be resolved." The Plaintiff filed an

FDCPA action, contending these statements were false, deceptive or misleading under

15 U.S.C. § 1692e because she could still seek discharge of her student loans by filing

a new bankruptcy case or re-opening the 2001 bankruptcy, then filing an adversary



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proceeding to show that repayment would impose an undue hardship.

Although the trial court acknowledged that it was "technically possible" for the Plaintiff

   to discharge her student loan debt through bankruptcy, that court held that

   Collecto's statements were "not inaccurate." The court noted that the plaintiff failed

   to seek the discharge of her student loan debt in her 2001 bankruptcy and had not

   reopened that bankruptcy or filed a new one to seek its discharge. The court also

   relied on "the difficult nature of prevailing in an undue hardship adversary

   proceeding."

The Second Circuit reversed, recognizing that the plaintiff retained her right to seek to

   discharge her student loan in bankruptcy and that her circumstances could change

   so that she could meet the undue hardship standard. The court held that Collecto's

   statement was "false on its face” The Court also found Collecto's statement

   "fundamentally misleading in that it suggests that the debtor has no possible means

   of discharging her student loans in bankruptcy.

The Second Circuit held that despite the "steep procedural and substantive hurdles

   standing in the way" of a debtor who seeks to discharge student loans in

   bankruptcy, a representation that a student loan debt is "NOT eligible" for a

   bankruptcy discharge is both false and misleading under the Fair Debt Collection

   Practices Act (FDCPA).

The Second Circuit's reversal reaffirms that the FDCPA's least sophisticated consumer

   test is an "objective inquiry" that neither requires a showing of actual deception, nor



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   pays attention to the circumstances of the particular debtor in question. The court

   emphasized that the district court's almost exclusive reliance on the plaintiff's

   individual circumstances was an error. The court instead defined the "operative

   inquiry" as "whether the hypothetical least sophisticated consumer could reasonably

   interpret the collection letter…as representing, incorrectly, that the debtor is

   completely foreclosed from seeking bankruptcy discharge of the debt."

       39)    Just like the Second Circuit held in Easterling v. Collecto, Inc., The

operative inquiry in this case is whether the hypothetical least sophisticated consumer

could reasonably interpret the Financial Recovery Services, Inc. Letter's statement

that; “THE CREDITOR IS REQUIRED TO REPORT ANY SETTELMENT AMOUNT

EQUAL OR GREATER THAN $600 TO THE IRS.” as representing, incorrectly, that

the debtor is completely foreclosed from obtaining a settlement that includes

forgiveness of $600.00 or more without the IRS sending the debtor a 1099 (which

would create a tax liability) for the debt in question.

       40)    The wording used in this letter is false and misleading because according

to 26 C.F.R. § 1.6050P-1(d)(3), forgiveness of Interest is not a reportable event and

would not require a copy of 1099C to be filed with the IRS. The least sophisticated

consumer test is an objective inquiry directed toward "ensuring that the FDCPA

protects all consumers, the gullible as well as the shrewd." Clomon, 988 F.2d at 1318.

The FDCPA does not place considerable – or dispositive – weight on the facts and

circumstances surrounding a debtor's background. By its very nature, however, the



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least sophisticated consumer test pays no attention to the circumstances of the

particular debtor in question. See Clomon, 988 F.2d at 1318.

Moreover, not only is the Defendant’s representation in this regard literally false, it is

also fundamentally misleading in that it suggests that the debtor has no possible

means of obtaining a settlement which includes a discharge of $600.00 or more without

creating a tax liability.

       41)     This is because the least sophisticated consumer could be led to believe:

       That unless the consumer pays the entire amount that the letter alleges is owed

       on the debt, the consumer is going to be reported to the IRS.

       That unless the consumer pays the entire amount the letter alleges is owed for

       the debt, the consumer is going to have to pay taxes on the entire unpaid

       balance.

In addition, the 2nd Circuit has found that Collection notices are deceptive if they are

   open to more than one reasonable interpretation, at least one of which is

   inaccurate. Pipiles v. Credit Bureau of Lockport, Inc., 886 F.2d 22, 25 (2d Cir.

   1989). (Because the collection notice was reasonably susceptible to an inaccurate

   reading, it was deceptive within the meaning of the Act.), Clomon v. Jackson, 988

   F.2d 1314,1319 (2d Cir. 1993). (Collection notices are deceptive if they are open to

   more than one reasonable interpretation, at least one of which is inaccurate.)

   Russell v. Equifax A.R.S. 74 F.3d 30, 34 (2d Cir. N.Y. 1996) (A collection notice is

   deceptive when it can be reasonably read to have two or more different meanings,



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   one of which is inaccurate. The fact that the notice's terminology was vague or

   uncertain will not prevent it from being held deceptive under § 1692e(10) of the

   Act.)

       42)    The Defendant’s collection letter’s capacity to discourage debtors from

accepting any settlement that includes forgiveness of $600.00 or more - without the

IRS sending the debtor a 1099C- renders its misrepresentation exactly the kind of

"abusive debt collection practice" that the FDCPA was designed to target. See 15

U.S.C. § 1692(e).

       43)    Plaintiff seeks to end these violations of the FDCPA. Plaintiff and putative

class members is entitled to preliminary and permanent injunctive relief, including,

declaratory relief, and damages.

                                    CLASS ALLEGATIONS

       44)    This action is brought as a class action. Plaintiff brings this action

individually, and on behalf of all other persons similarly situated pursuant to Rule 23 of

the Federal Rules of Civil Procedure.

       45)    The identities of all class members are readily ascertainable from the

records of Financial Recovery Services, Inc. and those business and governmental

entities on whose behalf it attempts to collect debts.

       46)    Excluded from the Plaintiff's Class is the Defendant and all officers,

members, partners, managers, directors, and employees of Financial Recovery

Services, Inc., and all of its respective immediate families, and legal counsel for all



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parties to this action and all members of its immediate families.

       47)    There are questions of law and fact common to the Plaintiff's Class,

which common issues predominate over any issues involving only individual class

members. The principal issues are whether the Defendant's actions violate provisions

of the Fair Debt Collection Practices Act.

       48)    The Plaintiff's claims are typical of the class members, as all are based

upon the same facts and legal theories.

       49)    The Plaintiff will fairly and adequately protect the interests of the Plaintiff's

Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the

Plaintiff nor his attorneys have any interests, which might cause him not to vigorously

pursue this action.

       50)    This action has been brought, and may properly be maintained, as a

class action pursuant to the provisions of Rule 23 of the Federal Rules of Civil

Procedure because there is a well-defined community interest in the litigation:

       (a)         Numerosity: The Plaintiff is informed and believes, and on that

basis alleges, that the Plaintiff's Class defined above is so numerous that joinder of all

members would be impractical.

       (b)        Common Questions Predominate: Common questions of law and

fact exist as to all members of the Plaintiff's Class and those questions predominate

over any questions or issues involving only individual class members. The principal



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issues are whether the Defendant's actions violate provisions of the Fair Debt

Collection Practices Act.

       (c)        Typicality: The Plaintiff's claims are typical of the claims of the

class members. Plaintiff and all members of the Plaintiff's Class defined in this

complaint have claims arising out of the Defendant's common uniform course of

conduct complained of herein.

       (d)        Adequacy: The Plaintiff will fairly and adequately protect the

interests of the class members insofar as Plaintiff has no interests that are adverse to

the absent class members. The Plaintiff i s committed to vigorously litigating this

matter. Plaintiff has also retained counsel experienced in handling consumer

lawsuits, complex legal issues, and class actions. Neither the Plaintiff nor his counsel

have any interests, which might cause them not to vigorously pursue the instant class

action lawsuit.

       (e)        Superiority: A class action is superior to the other available means

for the fair and efficient adjudication of this controversy because individual joinder of

all members would be impracticable. Class action treatment will permit a large

number of similarly situated persons to prosecute their common claims in a single

forum efficiently and without unnecessary duplication of effort and expense that

individual actions would engender Certification of a class under Rule 23(b)(l)(A) of the

Federal Rules of Civil Procedure is appropriate because adjudications with respect to

individual members create a risk of inconsistent or varying adjudications which could



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establish incompatible standards of conduct for Defendant who, on information and

belief, collects debts throughout the United States of America.

       51)    Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil

Procedure is also appropriate in that that Defendant's communications with the

Plaintiff, such as the above stated claims is tantamount to declaratory relief and any

monetary relief under the FDCPA would be merely incidental to that determination.

       52)    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that the questions of law and fact common to

members of the Plaintiff’s Class predominate over any questions affecting an individual

member, and a class action is superior to other available methods for the fair and

efficient adjudication of the controversy.

       53)    Further, Defendant has acted, or failed to act, on grounds generally

applicable to the Rule (b)(l)(A) and (b)(2) Class, thereby making appropriate final

injunctive relief with respect to the Class as a whole.

       54)    Depending on the outcome of further investigation and discovery, Plaintiff

may, at the time of class certification motion, seek to certify one or more classes only

as to particular issues pursuant to Fed. R.Civ. P. 23(c)(4).

                                  FIRST CAUSE OF ACTION
         Violations of the Fair Debt Collection Practices Act brought by Plaintiff
        individually, and the members of a class, as against the Defendant.
       55)    Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.



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       56)    Plaintiff re-states, re-alleges, and incorporates herein by reference,

paragraphs one (1) through fifty six (56) as if set forth fully in this cause of action.

       57)    This cause of action is brought on behalf of Plaintiff and the members of

a class.

       58)    The class consists of all persons whom Defendant’s records reflect

resided in the State of New York and who were sent a collection letter by Financial

Recovery Services, Inc. asserting a debt owed to “Cavalry Portfolio Services, LLC”,

bearing the Defendant’s letterhead in substantially the same form as the letters sent to

the Plaintiff on or about February 8, 2013; (a) the collection letter was sent to a

consumer seeking payment of a personal debt; and (b) the collection letter was not

returned by the postal service as undelivered, and (c) the Defendant violated 15

U.S.C. §§ 1692d, 1692e, 1692e(l0), 1692e(5), 1692e(8), and 1692f, for harassment

and by threatening to engage in an act which is legally prohibited.

       59)    Pursuant to Federal Rule of Civil Procedure 23, a class action is

appropriate and preferable in this case because:

       (a)       Based on the fact that a form collection letter is at the heart of this

       litigation, the class is so numerous that joinder of all members is impracticable.

       (b)    There are questions of law and fact common to the class and these

       questions predominate over any question(s) affecting only individual class

       members.     The      principal question presented by this claim is whether the

       Defendant violated the FDCPA.



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       (c)    The only individual issue involves the identification of the consumers who

       received such collection letters (i.e. the class members). This is purely a matter

       capable of ministerial determination from the records of the Defendant.

       (d)    The claims of the Plaintiff are typical of those of the class members. All

       of the respective class claims are based on substantially similar facts and legal

       theories.

       (e)      The Plaintiff will fairly and adequately represent the class members’

       interests.   The Plaintiff has retained counsel experienced in bringing class

       actions and collection abuse claims. The Plaintiff's interests are consistent with

       those of the members of the class.

       60)    A class action is superior for the fair and efficient adjudication of the class

members’ claims. Congress specifically envisions class actions as a principal means of

enforcing the FDCPA. 15 U.S.C. § 1692(k). The members of the class are generally

unsophisticated individuals, whose rights will not be vindicated in the absence of a

class action. Prosecution of separate actions by individual members of the classes

would create the risk of inconsistent or varying adjudications resulting in the

establishment of inconsistent or varying standards for the parties and would not be in

the interest of judicial economy.

       61)    If the facts are discovered to be appropriate, the Plaintiff will seek to

certify a class pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure.

       62)    Collection attempts, such as those made by the Defendant are to be



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evaluated by the objective standard of the hypothetical “least sophisticated consumer.”

                    Violations of the Fair Debt Collection Practices Act

      63)    As a direct and proximate result of these violations of the above FDCPA

violations, Plaintiff and class members have suffered harm and are entitled to

preliminary and permanent injunctive relief, and to recover actual and statutory

damages, costs and attorney's fees.

      WHEREFORE, Plaintiff, respectfully requests that this Court enter judgment in

Plaintiff's favor and against the Defendant and award damages as follows:

             a) Statutory and actual damages provided under the FDCPA, 15 U.S.C.

                 § 1692(k); and

             b) Attorney fees, litigation expenses and costs incurred in bringing this

                 action; and

             c) An order enjoining and directing Defendant to comply with the FDCPA

                 in its debt collection activities, including without limitation:

                 Directing Defendant to cease engaging in debt collection practices

                 that violate the FDCPA; and

             d) Any other relief that this Court deems appropriate and just under the

                 circumstances.




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       Dated: Brooklyn, New York
       October 10, 2013


                                      /s/ David Palace______________
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Plaintiff requests trial by jury on all issues so triable.


                                      /s/ David Palace__________
                                      David Palace esq. (DP 3855)




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